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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 JAMES MOSCOU,
        Plaintiff
         v.
                                                            Civil Action No. 22-3125 (CKK)
 FEDERAL BUREAU OF INVESTIGATION,
 et al.,
         Defendant.


                            SCHEDULING AND PROCEDURES ORDER
                                     (February 2, 2023)

        In order to administer this civil action in a manner fair to the litigants and consistent with
the parties’ interest in completing this litigation in the shortest possible time and at the least pos-
sible cost, it is, this 2nd day of February, 2023, hereby

        ORDERED that the parties are directed to comply with each of the directives set forth in
this Order. The Court will hold the parties responsible for following these directives; failure to
conform to this Order’s directives may, when appropriate, result in the imposition of sanc-
tions. See, e.g., FED. R. CIV. P. 16(f).

        1. COMMUNICATIONS WITH THE COURT. The parties should endeavor to keep
communications with Chambers to a minimum. Ex parte communications on matters other than
scheduling are strictly prohibited; if the parties need to contact Chambers, it must be done
jointly pursuant to a conference call arranged by the parties.

        2. MOTIONS FOR EXTENSIONS OF TIME. The Court will not entertain or honor
stipulations for extensions of time; parties must file a motion in accordance with the following
instructions:

              (a) Motions for extensions of time must be filed at least four (4) business days prior
                  to the first affected deadline.

              (b) Motions for extensions of time are strongly discouraged; they will be granted only
                  in truly exceptional or compelling circumstances and parties should not expect the
                  Court to grant extensions.

              (c) All motions for extensions of time must include the following or they will not be
                  considered:

                     (i)     The specific grounds for the extension;

                     (ii)    The number of previous extensions, if any, granted to each party;
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                 (iii)   A statement of the impact that the requested extension would have on
                         all other previously set deadlines;

                 (iv)    A proposed schedule for any other affected deadlines, to be proposed
                         only after consulting with opposing counsel; and

                 (v)     A statement of opposing counsel’s position vis-à-vis the motion in ac-
                         cordance with Local Civil Rule 7(m).

      3. MOTIONS GENERALLY. Parties must comply with the following instructions
when briefing any motion:

          (a) Memoranda of points and authorities filed in support of or in opposition to any
              motion may not, without leave of the Court, exceed forty-five (45) pages, and re-
              ply memoranda may not exceed twenty-five (25) pages, with margins set at one
              inch and with all text double-spaced (excepting footnotes) and in twelve-point
              Times New Roman (including footnotes).

          (b) A party may not file a sur-reply without first requesting leave of the Court.

          (c) Where a party fails to file a memorandum of points and authorities in opposition to
              a given motion, the Court may treat the motion as conceded, except with respect
              to motions for summary judgment. See Local Civil Rule 7(b); Winston & Strawn,
              LLP v. McLean, 843 F.3d 503, 505-08 (D.C. Cir. 2016) (citing, e.g., Fed. R. Civ.
              P. 56(e)(3)). Similarly, where a party fails to respond to arguments in opposition
              papers, the Court may treat those specific arguments as conceded. Phrasavang v.
              Deutsche Bank, 656 F. Supp. 2d 196, 201 (D.D.C. 2009).

          (d) Exhibits shall be properly edited to exclude irrelevant material and to direct the
              Court’s attention to the pertinent portions thereof.

          (e) Each submission shall be accompanied by a table of cases and other authorities
              cited therein.

          (f) Every pleading or paper, regardless of whether it is submitted by an attorney or a
              pro se party, shall contain the name, address, telephone number, and, for an attor-
              ney, bar identification number. See Local Civil Rule 5.1(c).

        4. MOTIONS FOR SUMMARY JUDGMENT. Parties must comply with the follow-
ing instructions when briefing motions for summary judgment and the Court may strike papers
not in conformity therewith:

          (a) In their [14] Joint Status Report, the parties requested that they be able to dispense
              with a statement of facts. The Court will not require a statement of facts so long
              as there are no factual disputes at issue. If there are factual disputes, the follow-
              ing rules (b)–(f) apply.



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           (b) The Court strictly adheres to the dictates of Local Civil Rule 7(h), which re-
               quires that each party submitting a motion for summary judgment attach a state-
               ment of material facts for which that party contends there is no genuine dispute,
               with specific citations to those portions of the record upon which the party relies
               in fashioning the statement. The party opposing the motion must, in turn, submit a
               statement enumerating all material facts which the party contends are genuinely
               disputed and thus require trial. Local Civil Rule 7(h)(1). The parties are strongly
               encouraged to carefully review Jackson v. Finnegan, Henderson, Farabow, Gar-
               rett & Dunner, 101 F.3d 145 (D.C. Cir. 1996), on the subject of Local Civil Rule
               7(h).

           (c) The moving party’s statement of material facts shall be a short and concise state-
               ment, in numbered paragraphs, of all material facts as to which the moving
               party claims there is no genuine dispute. The statement must contain only one
               factual assertion in each numbered paragraph.

           (d) The party responding to a statement of material facts must respond to each para-
               graph with a correspondingly numbered paragraph, indicating whether that
               paragraph is admitted or denied. If a paragraph is admitted only in part, the party
               must specifically identify which parts are admitted and which parts are denied.

           (e) The Court may assume that facts identified by the moving party in its statement of
               material facts are admitted, unless such facts are controverted in the statement
               filed in opposition to the motion. Local Civil Rule 7(h)(1).

           (f) The responding party must include any information relevant to its response in its
               correspondingly numbered paragraph, with specific citations to the record. How-
               ever, if the responding party has additional facts that are not directly relevant to
               its response, it must identify such facts in consecutively numbered paragraphs at
               the end of its responsive statement of facts. If additional factual allegations are
               made, the opponent must file a responsive statement of its own.

           (g) The parties must furnish precise citations to the portions of the record on which
               they rely; the Court need not consider materials not specifically identified. Fed. R.
               Civ. P. 56(c)(1)(A), (c)(3).

         5. MOTIONS FOR RECONSIDERATION. Motions for reconsideration of prior rul-
ings are strongly discouraged. Such motions shall be filed only when the requirements of FED. R.
CIV. P. 54(b), FED. R. CIV. P. 59(e), and/or FED. R. CIV. P. 60(b) are met. If such a motion is filed,
it shall not exceed ten (10) pages in length. Moreover, the Court will not entertain: (a) motions
which simply reassert arguments previously raised and rejected by the Court; or (b) arguments
which should have been previously raised, but are being raised for the first time. See Nat’l Trust
v. Dep’t of State, 834 F. Supp. 453, 455 (D.D.C. 1995). Motions not in compliance with these in-
structions may be stricken.




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        6. SETTLEMENT. The parties are expected to evaluate their respective cases for pur-
poses of settlement. The Court encourages the use of alternative dispute resolution—e.g., media-
tion or neutral case evaluation. The use of these methods is available at any time, as is a settle-
ment conference before a magistrate judge. If counsel are interested in pursuing these options,
they may contact Chambers at any time. If the case settles in whole or in part, counsel shall
promptly advise the Court.

       7. APPEARANCES AT HEARINGS. Principal trial counsel must appear at all hear-
ings unless excused by the Court in advance.

       It is FURTHER ORDERED that the parties shall adhere to the following schedule:

         (a)   Defendants shall provide Plaintiff with a Vaughn Index by no later than April 5,
               2023.
         (b)   Defendants shall file their Motion for Summary Judgment by no later than April
               5, 2023;
         (c)   Plaintiff shall file its Opposition to Defendants’ Motion for Summary Judgment
               and its Cross-Motion for Summary Judgment by no later than May 5, 2023;
         (d)   Defendants shall file their Reply to Plaintiff’s Opposition to Defendants’ Motion
               for Summary Judgment and their Opposition to Plaintiff’s Cross-Motion for
               Summary Judgment by no later than May 26, 2023;
         (e)   Plaintiff shall file a Reply in support of its Cross-Motion for Summary Judgment
               by no later than June 16, 2023.
        Additional dates will be set as necessary. The dates identified above are firm; the Court
has endeavored to give the parties the schedule that they have requested and expects that they
will adhere to that schedule.

       SO ORDERED.

                                                     __/s____________________________
                                                     COLLEEN KOLLAR-KOTELLY
                                                     United States District Judge




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